                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )              No. 3:09-cr-00240-16
v.                                               )
                                                 )              Judge Nixon
OMEGA HARRIS                                     )

                                          ORDER

      Pending before the Court is the Government’s Second Motion to Extend Response Time

(Doc. No. 2902) to which defense counsel has no objection. The Court GRANTS the Motion.

The Government may file its response to Defendant’s Motion for New Trial Based on Newly

Discovered Evidence (Doc. No. 2883) by Friday, June 10, 2016.

      It is so ORDERED.

      Entered this the 10th day of May, 2016.



                                                 ________________________________
                                                 JOHN T. NIXON, SENIOR JUDGE
                                                 UNITED STATES DISTRICT COURT




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